                       Case 4:14-cr-00211-DPM                    Document 538            Filed 11/06/15          Page 1 of 5
A0245B         (Rev. 09/11) Judgment in a Criminal Case
                                                                                                                              FILED
                                                                                                                           U.S. DISTRICT COURT
                                                                                                                       EASTERN DISTRICT ARKANSAS
               Sheet l



                                           UNITED STATES DISTRICT COURTJAMEs                                                                         RK
                                                               Eastern District of Arkansas                    By:_-t-T+..,......,+--+~=---
                                                                           )
              UNITED STA TES OF AMERICA                                    )       JUDGMENT IN A CRIMINAL CASE
                                   v.                                      )
                          Chandria Stigall                                 )
                                                                           )       Case Number: 4:14-cr-211-DPM-21
                                                                           )       USM Number: 28827-009
                                                                           )
                                                                           )       Theodis N. Thompson, Jr.
                                                                                   Defendant's Attorney
THE DEFENDANT:
!ilf'pleaded guilty to count(s)         60 of the Indictment

D pleaded nolo contendere to count(s)
   which was accepted by the court.
D was found guilty on count(s)
   after a plea ofnot guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                         Offense Ended
21 u.s.c. §§ 843(b)                Use of a Communication Device in Furtherance of Drug

                                   Trafficking, a Class E Felony                                             3/25/2014                    60



       The defendant is sentenced as provided in pages 2 through           __5_ _ of this judgment. The sentence is imposed pursuant to"
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)
!ifcount(s)      1 & 61                                   D is      9/are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenoant must notify the court and United States attorney of material cnanges in economic circumstances.

                                                                            11/5/2015
                                                                           Date oflmposition of Judgment



                                                                           Signature ofJudge




                                                                           D.P. Marshall Jr.                            U.S. District Judge
                                                                          Name and Title of Judge



                                                                           Date
                         Case 4:14-cr-00211-DPM                 Document 538             Filed 11/06/15          Page 2 of 5
AO 24SB       (Rev. 09/11) Judgment in a Criminal Case
              Sheet 4-Probation
                                                                                                            Judgment-Page      2     of        5
DEFENDANT: Chandria Stigall
CASE NUMBER: 4:14-cr-211-DPM-21
                                                                  PROBATION
The defendant is hereby sentenced to probation for a term of:
 3 years.




The defendant shall not commit another federal, state or local crime.
  The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall subni1t to one drug test within 15 days of placement on probation and at least two periodic drug tests
thereafter, as determined by the court.
D        The above drug testing condition is suspended, based on the court's detennination that the defendant poses a low risk of
         future substance abuse. (Check, if applicable.)
         The defendant shall not possess a fireann, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
         The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, ifapplicable.)
         The defendant shall comply with the reQuirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 1690 I, et seq.)
         as dire~ed by the probation offi~er, the Burea'! of Prisons, or any state sex offender registration agency in which he or she resides,
         works, IS a student, or was convicted of a qualifymg offense. (Check, if applicable.)
D        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
       If this judgment imposes a fine or restitution, it is a condition of probation that the defendant pay in accordance with the Schedule of
Payments sheet oflhis judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION
    1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)      the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
    3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)      the defendant shall support his or her dependents and meet other family responsibilities;
    5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
    6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
    7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
          substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
    8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
    9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do so by the probation officer;
 IO)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observea in plain view of the probation officer;
 11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          pennission of the court; and
 13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
          record or Rersonat history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant s compliance with such notification requirement.
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AO 245B   (Rev. 09/11) Judgment in a Criminal Case
          Sheet 4C - Probation
                                                                                            Judgment-Page    3     of      5
DEFENDANT: Chandria Stigall
CASE NUMBER: 4:14-cr-211-DPM-21

                                        SPECIAL CONDITIONS OF SUPERVISION
 51) Stigall shall participate, under the guidance and supervision of the probation officer, in a substance-abuse treatment
 program, which must include regular and random drug testing, and may include outpatient counseling, residential
 treatment, or both. Stigall shall contribute to the cost of treatment subject to her ability to pay.

 S2) Stigall shall perform 150 hours of community service, a minimum of 50 hours per year until completed.

 S3) Standard Condition 5 is suspended until Stigall's son starts kindergarten. Until that time, she is not required to work or
 seek employment.
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AO 2458    (Rev. 09/11) Judgment in a Criminal Case
           Sheet 5 - Criminal Monetary Penalties
                                                                                                                               4_ of
                                                                                                               Judgment-Page _ _                5
DEFENDANT: Chandria Stigall
CASE NUMBER: 4:14-cr-211-DPM-21
                                               CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                       Assessment                                                                                     Restitution
TOTALS             $ 100.00                                                   $                                   $ 0.00



0 The determination of restitution is deferred until - - - . An Amended Judgment in a Criminal Case (AO 245CJ will be entered
    after such determination.

0   The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

    If the defendant makes a partial payment, each payee shall receive an approximately pro:Qortioned pa)'l!!ent, unless specified otherwise in
    the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
    before the United States is paid.

Name of Payee                                                                     Total Loss*            Restitution Ordered Priority or Percentage




TOTALS                               $                               0.00


0    Restitution amount ordered pursuant to plea agreement $

O    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

O    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

     O the interest requirement is waived for the                0     fine       0   restitution.
     O the interest requirement for the               0   fine       O restitution is modified as follows:


*Findings for the total amount oflosses are req_uired under Chapters 109A, 110, 11 OA, and 113A of Title 18 for offenses committed on or after
Septemoer 13, 1994, but before April 23, 1996.
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AO 245B    (Rev. 09/11) Judgment in a Criminal Case
           Sheet 6- Schedule of Payments
                                                                                                              Judgment - Page _ _,.5'--- of            5
DEFENDANT: Chandria Stigall
CASE NUMBER: 4:14-cr-211-DPM-21

                                                      SCHEDULE OF PAYMENTS
Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A     rif Lump sum payment of$ _1_0_0_.o_o_ __                 due immediately, balance due

           D     not later than _ _ _ _ _ _ _ _ _ _ , or
           ~ in accordance         D C, D D, D        E, or                    ';/ F below; or

B     D Payment to begin immediately (may be combined with                  D C,         D D, or      D F below); or
C     D Payment in equal                            (e.g., weekly, monthly, quarterly) installments of $                            over a period of
                          (e.g., months or years), to commence                       (e.g., 30 or 60 days) after the date of this judgment; or

D     O Payment in equal                            (e.g., weekly, monthly, quarterly) installments of $                          over a period of
                          (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E    D Payment during the term of supervised release will commence within                     (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F    rJ/ Special instructions regarding the payment of criminal monetary penalties:
           If Stigall is unable to pay the special assessment immediately, then she shall pay 10% of her gross monthly
           income. Stigall shall make payments until the assessment is paid in full.




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal mone!_at)' penalties is due during
imprisonment. All cnminal monetary penalties, except Those payments made through the Federal Bureau of Prisons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



D    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.




D    The defendant shall pay the cost of prosecution.

D    The defendant shall pay the following court cost(s):

D    The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (l) assessment, (2) restitution principal, (3) restitution interest, (4) fine principa~
(SJ fme interest, (6) community restitution, (7) perialties, and (8) costs, including cost of prosecution and court costs.
